Case 2:04-Cr-20246-BBD Document 41 Filed 07/26/05 Page 1 of 2 Page|D 42

D.G-

nn B BY __,__,_,..-¢-
IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT OF TENN];¢:SS.EE05 JUL 25 914 52 hB

 

wESTERN DIVISION
UNITED sTATES 0F AMERICA, \H'R> CY‘ `""`!' *'”t"i'i 'EB
if
Plaintiff,
'k
v. Criminal No. 04-20246-D
if
KEVIN MEADOWS, *
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE SENTENCING HEARING

 

IT IS I-IEREBY ORDERED that the Government‘s Motion to Continue Sentencing Hearing

is hereby GRANTED, and is now reset for MW 1900 S' Z=\' l mem/ith time excluded

 

under the Speedy Trial Act.

I'r ls so 0R1)ERED this the .Z 6 day ofJuly, 2005.

 

Thls document entered on the docket sh om Yl
with Rule 55 and/or 32(b) FRCrP on _ __

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20246 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

ENNESSEE

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

